Case 23-34815 Document 892-2 Filed in TXSB on 12/10/24 Page 1 of 16




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      Case23-34815
           23-34815 Document
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                                                     12/10/24 Page
                                                               Page12ofof15
                                                                          16




                   IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION

In re:                                  §
                                        §     Case No. 23-34815 (JPN)
GALLERIA 2425 OWNER, LLC                §
                                        §     Chapter 11
         Debtor.                        §

                       NBK’S (RENEWED) EMERGENCY
           MOTION TO ENFORCE SALE ORDER (JETALL COMPANIES, INC.)

            THIS MOTION SEEKS AN ORDER THAT MAY ADVERSELY
            AFFECT YOU. IF YOU OPPOSE THE MOTION, YOU SHOULD
            IMMEDIATELY CONTACT THE MOVING PARTY TO RESOLVE
            THE DISPUTE. IF YOU AND THE MOVING PARTY CANNOT
            AGREE, YOU MUST FILE A RESPONSE AND SEND A COPY TO
            THE MOVING PARTY. YOU MUST FILE AND SERVE YOUR
            RESPONSE WITHIN 21 DAYS OF THE DATE THIS WAS SERVED
            ON YOU. YOUR RESPONSE MUST STATE WHY THE MOTION
            SHOULD NOT BE GRANTED. IF YOU DO NOT FILE A TIMELY
            RESPONSE, THE RELIEF MAY BE GRANTED WITHOUT
            FURTHER NOTICE TO YOU. IF YOU OPPOSE THE MOTION AND
            HAVE NOT REACHED AN AGREEMENT, YOU MUST ATTEND
            THE HEARING. UNLESS THE PARTIES AGREE OTHERWISE,
            THE COURT MAY CONSIDER EVIDENCE AT THE HEARING AND
            MAY DECIDE THE MOTION AT THE HEARING.
            REPRESENTED PARTIES SHOULD ACT THROUGH THEIR
            ATTORNEY.
            EMERGENCY RELIEF HAS BEEN REQUESTED. IF THE COURT
            CONSIDERS THE MOTION ON AN EMERGENCY BASIS, THEN
            YOU WILL HAVE LESS THAN 21 DAYS TO ANSWER. IF YOU
            OBJECT TO THE REQUESTED RELIEF OR IF YOU BELIEVE
            THAT   THE  EMERGENCY CONSIDERATION IS        NOT
            WARRANTED, YOU SHOULD FILE AN IMMEDIATE RESPONSE.
            RELIEF IS REQUESTED NOT LATER THAN DECEMBER 6, 2024.




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         Case23-34815
              23-34815 Document
                        Document892-2
                                 838 Filed
                                      FiledininTXSB
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                                                     on12/02/24
                                                        12/10/24 Page
                                                                  Page23ofof15
                                                                             16




          National Bank of Kuwait, S.A.K.P., New York Branch (“NBK”), 1 for itself and its

designee Houston 2425 Galleria, LLC (“NBK’s Assignee”), files this Emergency (Renewed)

Motion to Enforce Sale Order (Jetall Companies, Inc.) (the “Motion”) and represent follows:

                                      PRELIMINARY STATEMENT

          1.       Ali Choudhri is the President of Jetall Companies, Inc. (“Jetall”). Jetall occupies

and refuses to vacate suite 1100 (11th floor) of the office building located at 2425 West Loop

South, Houston, Texas (the “Property”), trespassing and diminishing the value of the Property that

NBK’s Assignee acquired, as designee and assignee of NBK, pursuant to the Sale Order.

          2.       NBK’s Assignee commenced an eviction proceeding against Jetall in the Harris

County Justice of the Peace Court, Precinct 1, Place 1 (the “JP Court”), styled Houston 2425

Galleria, LLC v. Jetall Companies, Inc., Cause No. 241100353166. The JP Court held a trial on

November 12, 2024 and entered an order, attached as Exhibit A, dismissing the eviction

proceeding “due to lack of jurisdiction.” Jetall argued to the JP Court that it lacked jurisdiction.

Thus, NBK must return to this Court for relief.

          3.       Although NBK and NBK’s Assignee believe that the JP Court had jurisdiction to

evict Jetall, there is no doubt that this Court has jurisdiction to enforce its own orders, and NBK,

and on behalf of NBK’s Assignee, requests that this Court enforce the Sale Order by entering an

order, substantially in the form of the proposed order attached as Exhibit B.

          4.       The Sale Order authorized the sale of the Property “free and clear of all liens,

claims, encumbrances, and other interests.” [Docket No. 608 at p. 7 ¶¶ L and N; p. 14 ¶ 9; p. 26

¶ 35] (emphasis added). 2 Jetall is deemed to have accepted and cannot challenge the Sale Order



1
    Capitalized terms used but not defined herein shall have the meanings ascribed to them in the Sale Order (defined
    below).
2
    Unless otherwise noted, docket references are references to the docket in this chapter 11 case.

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         Case23-34815
              23-34815 Document
                        Document892-2
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                                      FiledininTXSB
                                                TXSBon
                                                     on12/02/24
                                                        12/10/24 Page
                                                                  Page34ofof15
                                                                             16




because it never objected to or appealed from its entry. Additionally, the fact that the Confirmation

Order was appealed is irrelevant. First, Jetall did not appeal the Confirmation Order or any

reference it made to a free and clear sale. 3 Second, it cannot piggyback on 2425 WL, LLC’s (“2425

WL”) appeal which, in any event, was narrowed by 2425 WL such that, 2425 WL contends, even

if 2425 WL is successful, that will not result in an unwinding of the “free and clear” sale of the

Property. Finally, 2425 WL’s appeal of the Confirmation Order was dismissed by the United States

District Court for the Southern District of Texas (the “District Court”) by a Minute Order entered

on November 21, 2024 attached as Exhibit C (the “Minute Order”) followed by a Final Judgment,

also dated November 21, 2024 attached as Exhibit D. See In re Galleria 2425 Owner LLC, Civil

Action No. 4:24-CV-02590, Docket No. 25. Thus, despite Jetall’s arguments in JP Court, there is

no issue of title, and this Court should enforce the Sale Order.

                                                 BACKGROUND

          5.       On December 5, 2023, the Debtor commenced a voluntary case under chapter 11

of title 11 of the United States Code (the “Bankruptcy Code”) in the United States Bankruptcy

Court for the Southern District of Texas (the “Court”). The Debtor filed multiple unconfirmable

plans of reorganization, 4 the first of which was filed on the eve of the hearing on National Bank of

Kuwait, S.A.K.P, New York Branch’s Motion Pursuant to 11 U.S.C. § 1112(b) to Convert

Chapter 11 Case to Chapter 7 [Docket No. 72]. On January 31, 2024, the Court entered its Order

Abating Motion to Convert to Chapter 7 and Appointing Chapter 11 Trustee [Docket No. 99]. On

April 5, 2024, the Chapter 11 Trustee’s Motion for Entry of an Order: (I) Approving Procedures

for the Sale of the Property Free and Clear of All Liens, Claims and Encumbrances; (II)


3
    The Confirmation Order, in addition to the Sale Order, authorized the sale of the Property “free and clear of any
    Claims, Liens, Interests, encumbrances, executory contracts or unexpired leases of real or personal property . . . .”
    [Confirmation Order p. 21 (Plan Article VI.A)] (emphasis added).
4
    See Docket Nos. 95, 163, 252, 365, 377.

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       Case23-34815
            23-34815 Document
                      Document892-2
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                                                      12/10/24 Page
                                                                Page45ofof15
                                                                           16




Scheduling an Auction; (III) Authorizing Entry into the Stalking Horse Purchase Agreement; (IV)

Approving Assumption and Assignment Procedures; (V) Approving Form of Notice; and (VI)

Granting Related Relief [Docket No. 188] was filed. On April 10, 2024, the Chapter 11 Plan of

Liquidation of the Debtor by National Bank of Kuwait S.A.K.P., New York Branch [Docket

No. 194] was filed.

       6.      On June 21, 2024, the chapter 11 trustee filed a Notice of Successful Bidder, Backup

Bidder, and Sale Hearing [Docket No 561], which designated QB Loop Property LP (“QB Loop”),

an entity affiliated with Mr. Choudhri, as the successful bidder for the Property and further

designated NBK as the “Backup Bidder.”

       7.      On June 22, 2024, the Court entered a Memorandum Opinion [Docket No. 565] and

Order Confirming Chapter 11 Plan of Liquidation of the Debtor by National Bank of Kuwait,

S.A.K.P. New York Branch [Docket No. 566] (the “Confirmation Order”), approving a future sale

of the Property “free and clear of any Claims, Liens, Interests, encumbrances, executory contracts

or unexpired leases of real or personal property . . . .” (Plan Article VI.A) (emphasis added).

       8.      On July 8, 2024, the Court entered its Order (A) Approving Asset Purchase

Agreement Between the Trustee and QB Loop Property LP; (B) Approving the Sale of the Property

Free and Clear of all Liens, Claims, Encumbrances, and Other Interests; (C) Approving

Assumption and Assignment of Executory Contracts and Leases; (D) Determining the amounts

necessary to cure such Executory Contracts, and Unexpired Leases; and (E) Granting Related

Relief [Docket No. 608] (the “Sale Order”), approving the Asset Purchase Agreement submitted

by QB Loop and the Stalking Horse Agreement submitted by NBK for a sale of the Property “free

and clear of and all interests, including all liens, claims and encumbrances” [Sale Order p. 7 ¶ N,

p. 13 ¶ 5] (emphasis added). The Sale Order further required “all persons that are in possession of



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        Case
         Case23-34815
              23-34815 Document
                        Document892-2
                                 838 Filed
                                      FiledininTXSB
                                                TXSBon
                                                     on12/02/24
                                                        12/10/24 Page
                                                                  Page56ofof15
                                                                             16




some or all of the Purchased Assets as of or after the Closing are hereby directed to surrender

possession of such Purchased Assets to the Buyer as of the Closing or at such time thereafter as

the Buyer may request.” [Sale Order p. 26 ¶ 34].

          9.      The Sale Order also found that “one or more of the standards set forth in section

363(f)(1) through (5) of the Bankruptcy Code have been satisfied” [Sale Order pp. 7-8]. The Sale

Order also provided that “[e]ach entity with an interest, including any lien, claim, or encumbrance,

in the Purchased Assets to be transferred on the Closing Date: (i) has, subject to the terms and

conditions of this Sale Order, consented to the Sale Transaction or is deemed to have consented to

the extent that they did not object” [Sale Order p. 8]. Notably, Jetall never objected to the Sale

Order.

          10.     QB Loop failed to close on its purchase of the Property, and on August 9, 2024, the

chapter 11 trustee filed a Notice of Failure to Close Under Successful Bid [Docket No. 658]. As a

result, the rights to purchase the Property went to NBK as the Backup Bidder pursuant to the terms

of its Stalking Horse Agreement, with only a change in purchase price [Sale Order p. 24 ¶ 28].

“On or about August 20, 2024, the undersigned chapter 11 trustee in this case sold [the Property]

to Houston 2425 Galleria, LLC, as designee and assignee of National Bank of Kuwait, S.A.K.P.,

for $27 million.” Report of Sale [Docket No. 675]. Thereafter, the Plan went effective on

August 21, 2024. Notice of Confirmation and Effective Date of Chapter 11 Plan of Liquidation of

the Debtor by National Bank of Kuwait S.A.K.P., New York Branch [Docket No. 676].

          11.     Shortly after closing, NBK’s Assignee provided notice to Jetall for it to surrender

possession and vacate the Property. 5 Now, three months after the sale closed, Jetall still refuses to

leave the Property. In the JP Court, Jetall made a Plea to the Jurisdiction, contending that issues of



5
    On September 3, 2024 and again on September 9, 2024, NBK served Jetall with notice to vacate the Property.

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                                                                                                  4871-3605-5546.v12
         Case
          Case23-34815
               23-34815 Document
                         Document892-2
                                  838 Filed
                                       FiledininTXSB
                                                 TXSBon
                                                      on12/02/24
                                                         12/10/24 Page
                                                                   Page67ofof15
                                                                              16




title exist that prevent the JP Court from exercising jurisdiction over the eviction proceeding. The

JP Court dismissed the case “due to lack of jurisdiction.” Thus, NBK, and on behalf of NBK’s

Assignee, seeks relief from this Court on an emergency basis.

                                 THE ORIGINAL EMERGENCY MOTION

          12.       NBK originally sought the relief requested here by emergency motion filed on

November 18, 2024 (the “Original Emergency Motion”). See Docket No. 816. The Court

scheduled the Original Emergency Motion for hearing on November 20, 2024. See Docket N0.

817. Jetall filed its response to the Original Emergency Motion on November 19, 2024 (the

“Original Response”). See Docket 825.

          13.       Although none of the arguments made in the Original Response have any merit,

NBK, at the hearing on November 20, 2024, withdrew the Original Emergency Motion reporting

to the Court that it intended to try to address promptly in the JP Court an argument made by Jetall

that the JP Court disqualified the undersigned from representing NBK, including from representing

NBK in this Court. While NBK agreed with the Court that it, and not the JP Court, decides whether

lawyers are disqualified from appearing before it and that Jetall had not filed a motion to disqualify

in this Court, NBK thought it prudent to try first to resolve this issue before the JP Court. 6


6
    Jetall’s disqualification argument is based on an October 29, 2024 order of the JP Court. More than a month has
    passed since the entry of that order and Jetall has not filed a motion in this Court to disqualify undersigned counsel.
    In an analogous situation, when Jetall’s affiliate 2425 WL, LLC raised the JP order and disqualification with Judge
    Ellison on November 20, 2024, at a hearing on a motion to dismiss 2425 WL, LLC’s appeal of the Confirmation
    Order, Judge Ellison found that by not filing a motion to disqualify within, at that point, three weeks of the JP order,
    the disqualification argument was waived. Judge Ellison proceeded to decide the motion to dismiss and dismissed
    the appeal. See Minute Order attached as Exhibit C. The same reasoning would apply with even more force if
    Jetall, Mr. Choudhri or any affiliate were to seek disqualification now given that both this Court and the District
    Court explained that a disqualification motion is a necessary prerequisite for disqualification and no such motion
    has been filed. NBK notes that it learned late on the afternoon of December 2, 2024, that Jetall did file an original
    petition in the Harris County District Court, 2024-83809, on Friday, November 29, 2024, seeking relief related to
    the JP Court’s order. Neither NBK, NBK’s Affiliate or their undersigned counsel has been served with this original
    petition and a citation, but it will be removed to this Court promptly. Regardless, filing a petition in state court is
    not filing a disqualification motion in this Court. To the contrary, it appears to be a blatant attempt to avoid engaging
    this Court on the issue of whether the undersigned counsel is disqualified, making the waiver argument for matters
                                                                                 ( . . . footnote continued on next page … )

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       Case23-34815
            23-34815 Document
                      Document892-2
                               838 Filed
                                    FiledininTXSB
                                              TXSBon
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                                                      12/10/24 Page
                                                                Page78ofof15
                                                                           16




        14.      On December 2, 2024, in response to a motion filed seeking clarification of the JP

Court’s order, the Clerk of the JP Court indicated that the JP Court will not take up the motion

seeking clarification as it views the case before it as over, although the Clerk also indicated that it

might be reaching back out on this issue. NBK disagrees with the JP Clerk’s conclusion, but it

leaves NBK with no choice but to renew its request for emergency relief now.

                                               JURISDICTION

        15.      The Court has jurisdiction to consider this matter pursuant to 28 U.S.C. § 1334.

        16.      This is a core proceeding pursuant to 28 U.S.C. § 157.

                                           RELIEF REQUESTED

        17.      NBK and NBK’s Assignee respectfully request entry of an order substantially in

the form attached hereto as Exhibit B requiring Jetall to vacate the premises immediately and

instructing the U.S. Marshall to remove Jetall if it fails to vacate within five (5) business days of

the entry of the proposed order and confirming that Jetall has no right of occupancy or claim based

upon its alleged lease with the Debtor. (the proposed “Order to Vacate Property”).

                                            BASIS FOR RELIEF

        A.       The Court Has Authority to Enforce the Sale Order and Evict Jetall

        18.      The Court should order Jetall to vacate the Property and direct the clerk to issue all

writs necessary to evict Jetall if it fails to comply within five (5) business days of entry of an order

granting the relief requested in this Motion.

        19.      Pursuant to the Sale Order, NBK’s Assignee took the Property free and clear of any

interest Jetall might assert in the Property whether based on its alleged lease with the Debtor or




  in this Court all the more compelling. Moreover, the allegations in the petition are false, misleading and inaccurate
  and primarily unrelated to NBK’s Assignee or undersigned counsel. A copy of the petition is attached as Exhibit
  E.

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                                                                                                     4871-3605-5546.v12
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         Case23-34815
              23-34815 Document
                        Document892-2
                                 838 Filed
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                                                TXSBon
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                                                        12/10/24 Page
                                                                  Page89ofof15
                                                                             16




otherwise. Consistent with Fifth Circuit guidance, the Court authorized the free and clear sale,

including free and clear of a possessory interest derivative of a lease, finding that one or more

statutory prerequisites to selling free and clear existed. See Sale Order Docket No. 608 at p. 7 ¶

N.

          20.      Nevertheless, in its Response, Jetall argues that because the sale closed before its

lease was assumed or rejected, it retained a possessory right under section 365(h) of the Bankruptcy

Code in property over which the Debtor’s estate had no control and in which it had no interest.

Jetall makes this argument relying on the Fifth Circuit’s decision in In re Royal Bistro, L.L.C., 26

F.4th 326 (5th Cir. 2022). But the argument is misplaced and misapplies Royal Bistro.

          21.      In Royal Bistro, the Fifth Circuit refused to change the terms of a free and clear sale

to permit a tenant a continuing right to occupy leased premises. The Fifth Circuit held that the

question is not whether Jetall’s lease was rejected before or after the sale transaction closed; the

issue is whether the Court found, as it did here, that the prerequisites for a free and clear sale were

present. 7 Finding that the bankruptcy court in Royal Bistro found that a free and clear sale was

authorized, it refused to provide the “former” tenant any relief.

          22.      In this case, refusing to give any credence to Jetall’s position is even more

compelling than in Royal Bistro. In Royal Bistro, the tenant objected to the proposed sale free of

its interest in the property to be sold (its lease) and sought relief from the bankruptcy court’s order

all the way to the Fifth Circuit, albeit unsuccessfully. In contrast, Jetall never objected to the free



7
    Other courts, like the 7th Circuit, engage in a temporal analysis to determine whether a Bankruptcy Code section
    363(b) and (f) sale can eliminates a tenant’s post-sale right to continue to occupy the property and hold that, as long
    as a lease has not been rejected before the sale, the property can be sold free of any continuing right of a tenant to
    occupy the property. See Precision Indus., Inc. v. Qualitech Steel QBO, LLC, 327 F. 3d 537 (7th Cir, 2003).
    Although the Fifth Circuit counsels against a strict adherence to this temporal analysis, and directs instead that the
    issue is whether the bankruptcy court concluded that Bankruptcy Code section 363(f) applies, here the temporal
    analysis employed by the Seventh and other Circuits yields the same result. The Property was transferred free and
    clear of Jetall’s alleged lease and any continuing occupancy right under the Bankruptcy Code or otherwise.

                                                             8
                                                                                                         4871-3605-5546.v12
        Case
         Case23-34815
              23-34815 Document
                        Document892-2
                                 838 Filed
                                      Filed in
                                             in TXSB
                                                TXSB on
                                                     on 12/02/24
                                                        12/10/24 Page
                                                                 Page 910ofof1516




and clear Sale Order, nor did it (or any other party) appeal that order. Jetall is bound by the Sale

Order. It cannot collaterally attack that order now.

          23.      Given the clear language of the Sale Order and its specific findings regarding a

section 363(f) sale, this Court has ample authority to compel Jetall to vacate the Property.

          24.      First, section 105(a) of the Bankruptcy Code provides in relevant part that “[t]he

court may issue any order, process, or judgment that is necessary or appropriate to carry out the

provisions of this title.” There is abundant authority supporting the proposition that a bankruptcy

court has inherent core authority under section 105 to enforce its own orders, including

confirmation orders and sale orders. 8

          25.      Second, the Court’s core authority to evict a tenant from real property also stems

from the bankruptcy court’s authority to issue writs. See 28 U.S.C. § 1651(a) (“The Supreme Court

and all courts established by Act of Congress may issue all writs necessary or appropriate in aid

of their respective jurisdictions and agreeable to the usages and principles of law”). “[T]he

legislative history of § 105 reflects congressional intent that the section be ‘similar in effect to the




8
    See, e.g., Universal Oil Ltd. v. Allfirst Bank (In re Millenium Seacarriers, Inc.), 419 F.3d83, 97 (2d Cir. 2005)
    (“Bankruptcy courts retain jurisdiction to enforce and interpret their own orders”) (citing Luan Inv. S.E. v. Franklin
    145 Corp. (In re Petrie Retail, Inc.), 304 F.3d 223, 230(2d Cir. 2002));Taggart v. Lorenzen, 139 S. Ct. 1795, 1801
    (2019) (“In our view, [sections 524(a) and 105] authorize a court to impose civil contempt sanctions when there is
    no objectively reasonable basis for concluding that the creditor’s conduct might be lawful under the discharge
    order.”); Rosellini v. U.S. Bankruptcy Court (In re Sanchez), 941 F.3d 625, 628 (2d Cir. 2019) (“We therefore hold
    that bankruptcy courts, like Article III courts, possess inherent sanctioning powers.”); In re Cano, 410 B.R. 506
    (Bankr. S.D. Tex. 2009) (“Courts have used § 105 to remedy violations of confirmed plans. A bankruptcy court’s
    authority under § 105 to enforce its own orders cannot be reasonably questioned.”); In re Palmaz Scientific Inc.,
    562 B.R. 331 (Bankr. W.D. Tex. 2016) (“This Court has subject matter jurisdiction to interpret the Plan and
    determine whether continuation of the Respondent’s litigation would violate the Plan, Confirmation Order, and
    permanent injunction provided therein . . . Further, the Court always has jurisdiction to clarify and enforce its own
    orders.”); In re Johns Manville Corp., 97 B.R. 174, 180 (Bankr. S.D.N.Y. 1989) (holding that a “bankruptcy court
    retains post-confirmation jurisdiction to interpret and enforce its own orders in aid of their proper execution”); In
    re Cont’l Airlines, Inc., 236 B.R. 318, 325 (Bankr. D. Del. 1999) (“In the bankruptcy context, courts have
    specifically, and consistently, held that the bankruptcy court retains jurisdiction, inter alia, to enforce its
    confirmation order.”); In re Allegheny Health Educ. & Rsch. Found., 383 F.3d 169, 176 (3d Cir. 2004) (“we hold
    that the bankruptcy court correctly determined that the suit was a core proceeding because it required the court to
    interpret and give effect to its previous sale orders”).

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                                                                                                        4871-3605-5546.v12
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        Case23-34815
             23-34815 Document
                       Document892-2
                                838 Filed
                                     FiledininTXSB
                                               TXSBon
                                                    on12/02/24
                                                       12/10/24 Page
                                                                 Page10
                                                                      11ofof15
                                                                             16




All Writs Statute, 28 U.S.C. § 1651,’ and was included in the Bankruptcy Code ‘to cover any

powers traditionally exercised by a bankruptcy court that are not encompassed by the All Writs

Statute.’” In re Casse, 198 F.3d 327, 336 (2d Cir. 1999) (quoting In re Earl, 140 B.R. 728, 741

n.4 (Bankr. N.D. Ind. 1992). Thus, the Court has the authority to issue a writ of assistance, the

effect of which is to evict a tenant from real property.

          26.      Third, the Court also has authority to issue a writ authorizing and directing the

eviction of Jetall to effectuate the requirements of the Sale Order. See In re Searles, 70 B.R. 266

(D.R.I. 1987). In In re Searles, the district court held that the bankruptcy court had the authority

to evict persons from a property that belonged to a creditor pursuant to the terms of a consent order

entered by the same court. The district court reasoned that because the consent order was a core

proceeding, the subsequent eviction order also fell within the bankruptcy court’s subject matter

jurisdiction. Numerous bankruptcy courts have similarly entered eviction orders. 9

          27.      Fourth, where, as here, a tenant refuses to vacate, a bankruptcy court may issue

writs of assistance from the U.S. Marshals Service. In In re Watson, the district court affirmed the

U.S. Bankruptcy Judge Mary F. Walrath’s order authorizing eviction assistance from the U.S.

Marshal, including use of reasonable force.

          The premises considered, and the Court being fully advised, it is hereby
          ORDERED:

          1. The Debtors and all persons claiming by or through or on behalf of the Debtors
          are hereby ORDERED to immediately vacate the Property and to remove their
          personal property therefrom forthwith; and



9
    See, e.g., In re M.A.S. 284 Parking Corp., 201 F.3d 431 (2d Cir. 1999) (referencing order of eviction issued by
    bankruptcy court and later affirmed by district court); In re Las Margaritas, Inc., 54 B.R. 98, 100 (Bankr. D. Nev.
    1985) (bankruptcy court issued eviction order); In re Stephens, No. ADV 04-3468 DDO, 2012 WL 1899716, at *7
    (D. Minn. May 24, 2012), aff’d (Apr. 2, 2013) (eviction ordered to enforce sale order); Ragsdale v. Michas (In re
    Five Star Design & Builders, LLC), Adv. Proc. 05-06626 (Bankr. N.D. Ga. 2006), ECF Nos. 22, 33 (eviction
    stipulated to in consent order granting temporary restraining order and later ordered following failure to comply
    with temporary restraining order).

                                                          10
                                                                                                      4871-3605-5546.v12
     Case
      Case23-34815
           23-34815 Document
                     Document892-2
                              838 Filed
                                   FiledininTXSB
                                             TXSBon
                                                  on12/02/24
                                                     12/10/24 Page
                                                               Page11
                                                                    12ofof15
                                                                           16




       2. LPP shall have all writs necessary to evict the Debtors and all persons claiming
       by or through or on behalf of the Debtors from the Property, including, without
       limitation, Writs of Assistance, Ejectment, Eviction, and/or Restitution; and

       3. Upon the request of LPP the Clerk shall issue such Writs and the United States
       Marshal shall render such assistance, including the use of reasonable force, as may
       be necessary to serve and enforce such Writs and to make return thereof.

In re Watson, No. 09-BK-10002-MFW, 2011 WL 13492392, at *1 (Bankr. D.V.I. May 12, 2011),

aff’d, No. 2009-10002, 2016 WL 3349666 (D.V.I. June 15, 2016). Similarly, in In re Saint

Vincents, another bankruptcy court called upon the U.S. Marshals Service to enforce a sale order,

evict a holdover tenant, and arrest “anyone interfering with the execution of this Writ of

Assistance.” In re Saint Vincents Catholic Medical Centers of New York, No. 10-11963 (CGM)

(Bankr. E.D.N.Y. July 23, 2010), ECF No. 644.

       28.     Finally, to preempt the necessity of NBK or NBK’s Assignee returning to this Court

for relief again, and incurring even more legal fees in the process, NBK and NBK’s Assignee

should be expressly authorized to present an order granting the relief requested herein to the Harris

County Sheriff’s Office permitting the immediate removal of any Jetall property remaining at the

Property, without any further notice to Jetall, without any recourse against NBK or NBK’s

Assignee, and without any prejudice to any claims or causes of action NBK or NBK’s Assignee

holds against Jetall, if Jetall fails to vacate the Property within five (5) business days of the entry

of an order granting NBK and NBK’s Assignee’s requested relief. All notices and stays under

applicable state law, including but not limited to those set forth in TEX. PROP. CODE § 24.0061,

should be deemed satisfied or waived, as applicable, to allow for immediate relief to NBK and

NBK’s Assignee.

       B.      The Sale Order Is Consistent with Texas Law Regarding Forcible Detainer

       29.     Under Texas law, the sole focus of a forcible-detainer action is the right to

immediate possession of real property.” Shields Ltd. P’ship v. Bradberry, 526 S.W.3d 471, 478

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                                                                                        4871-3605-5546.v12
      Case
       Case23-34815
            23-34815 Document
                      Document892-2
                               838 Filed
                                    FiledininTXSB
                                              TXSBon
                                                   on12/02/24
                                                      12/10/24 Page
                                                                Page12
                                                                     13ofof15
                                                                            16




(Tex. 2017). To establish a right to immediate possession, a plaintiff must prove (1) a landlord-

tenant relationship exists between the parties, 10 (2) the tenant is an evictable tenant, 11 (3) the

landlord made a proper demand for possession, 12 (4) the period of time to vacate has expired, 13

and (5) the tenant has refused to surrender possession to the landlord. 14

        30.      An “evictable tenant” is one who is a tenant or a subtenant willfully holding over

after the termination of the tenant’s right of possession. This includes a tenant at will or by

sufferance, including an occupant at the time of foreclosure of a lien superior to the tenant’s lease, 15

and by extension, an occupant at the time of a “free and clear” sale, authorized by the Sale Order,

to which Jetall neither objected nor appealed. 16

        31.      Jetall is an evictable tenant because it asserts an ongoing right to possession based

upon a lease with the Debtor providing it with rights to occupy the Property. However, the Sale

Order conveyed the property “free and clear” of all interests in the Property; directed those “in

possession of some or all of the Purchased Assets as of or after the Closing . . . surrender

possession” [Sale Order p. 26 ¶ 34]; and prohibited interference “with Buyer’s use and enjoyment

of the Purchased Assets” [Sale Order p. 28 ¶ 36]. 17




10
   See Goodman-Delaney v. Grantham, 484 S.W.3d 171, 174 (Tex. App.—Houston [14th Dist.] 2015, no pet.) (“A
   forcible detainer action is dependent on proof of a landlord-tenant relationship.”).
11
   It’s the Berrys, Ltd. Liab. Co. v. Edom Corner, Ltd. Liab. Co., 271 S.W.3d 765, 769 (Tex. App.—Amarillo 2008,
   no pet.).
12
   TEX. PROP. CODE §§24.002(b), 24.005; see also Briones v. Brazos Bend Villa Apts., 438 S.W.3d 808, 811 (Tex.
   App.—Houston [14th Dist.] 2014, no pet.).
13
   TEX. PROP. CODE § 24.005
14
   Briones v. Brazos Bend Villa Apts., 438 S.W.3d 808, 811 (Tex. App.—Houston [14th Dist.] 2104, no pet.).
15
   It’s the Berrys, 271 S.W.3d at 769.
16
   The Supreme Court has foreclosed the possibility of an after-the-fact attack on a confirmed plan by a party that
   never objected or appealed. United Student Aid Funds, Inc. v. Espinosa, 559 U.S. 260 (2010).
17
   Again, the Confirmation Order also confirmed that the Property was to be transferred free and clear of “unexpired
   leases.” [Confirmation Order pp. 2-3 ¶ K; p. 21 (Plan Article VI.A)].

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                                                                                                   4871-3605-5546.v12
      Case
       Case23-34815
            23-34815 Document
                      Document892-2
                               838 Filed
                                    FiledininTXSB
                                              TXSBon
                                                   on12/02/24
                                                      12/10/24 Page
                                                                Page13
                                                                     14ofof15
                                                                            16




         32.      Jetall’s continued occupation of the Property after it was sold free of any interest

asserted by Jetall in the Property, i.e., its lease, in flagrant violation of the Sale Order, constitutes

tenancy at sufferance, which is trespass. 18 Nevertheless, NBK’s Assignee served Jetall with

eviction notices, but it refuses to leave the Property. Therefore, neither the Sale Order nor any of

the present facts are inconsistent with Texas law, and the Court may order eviction. 19

                         REQUEST FOR EMERGENCY CONSIDERATION

         33.      Pursuant to Local Bankruptcy Rule 9013-1(i), NBK, and on behalf of NBK’s

Assignee, respectfully requests that the Motion be considered on an emergency basis. Jetall

continues to occupy the Property, without a lease, trespassing, diminishing the value of the

Property, and interfering with NBK’s Assignee’s use and enjoyment of the Property, all in

violation of the Sale Order. Absent emergency consideration, this Motion may not be heard until

late in December, unnecessarily prolonging Jetall’s unlawful occupancy. Accordingly, NBK, and

on behalf of NBK’s Assignee, respectfully requests that the Court consider this Motion on an

expedited basis.

                                        RESERVATION OF RIGHTS

         34.      NBK and NBK’s Assignee reserve their rights to seek further relief from the Court

pursuant to any of its Orders, including relief with respect to attorneys’ fees NBK and NBK’s

Assignee have incurred in connection with Jetall’s actions as described herein. NBK and NBK’s

Assignee further reserve all rights, claims, defenses, and remedies, including, without limitation,

the right to amend, modify, or supplement this Motion.



18
   See Coinmach Corp. v. Aspenwood Apartment Corp., 417 S.W.3d 909, 919 (Tex. 2013) (“[U]nder the common law
   a tenant at sufferance has no legal title or right to possession, and is thus a ‘trespasser’ who possesses the property
   ‘wrongfully.’”).
19
   It is irrelevant that NBK’s Assignee also has provided Jetall with a 30-day notice of termination under state law as
   that notice was given as a precautionary measure, was not an admissions that such notice was required, and was
   given with a complete reservation of rights to come to this Court for immediate relief.

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                                                                                                        4871-3605-5546.v12
     Case
      Case23-34815
           23-34815 Document
                     Document892-2
                              838 Filed
                                   FiledininTXSB
                                             TXSBon
                                                  on12/02/24
                                                     12/10/24 Page
                                                               Page14
                                                                    15ofof15
                                                                           16




                                            NOTICE

       35.     Notice of this Motion will be served on any party entitled to notice pursuant to

Bankruptcy Rule 2002 and any other party entitled to notice pursuant to Bankruptcy Local Rule

9013-1(d).

       WHEREFORE, NBK and NBK’s Assignee respectfully request (a) entry of the proposed

Order to Vacate Property granting the relief requested herein and (b) such other and further relief

as the Court deems just and proper.

Dated: December 2, 2024                   PILLSBURY WINTHROP SHAW PITTMAN LLP
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      Case23-34815
           23-34815 Document
                     Document892-2
                              838 Filed
                                   FiledininTXSB
                                             TXSBon
                                                  on12/02/24
                                                     12/10/24 Page
                                                               Page15
                                                                    16ofof15
                                                                           16




                               CERTIFICATE OF ACCURACY

        I certify that the foregoing statements are true and accurate to the best of my knowledge.
This statement is being made pursuant to Bankruptcy Local Rule 9013-1(i).

                                                     /s/ Charles C. Conrad
                                                       Charles C. Conrad



                                 CERTIFICATE OF SERVICE

        I certify that, on December 2, 2024, I caused a copy of the foregoing document to be served
by the Electronic Case Filing System for the United States Bankruptcy Court for the Southern
District of Texas, and to the following party via U.S. first class mail, postage paid and via email:

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                                                     /s/ Charles C. Conrad
                                                       Charles C. Conrad




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                                                                                     4871-3605-5546.v12
